Case 1:18-cv-00966-CFC-CJB Document 967 Filed 05/31/22 Page 1 of 1 PageID #: 37827




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  VLSI TECHNOLOGY LLC,
                                                        C.A. No. 18-cv-966-CFC-CJB
                 Plaintiff,
         v.                                             JURY TRIAL DEMANDED

  INTEL CORPORATION,
                 Defendant.


                         STATUS REPORT IN RESPONSE TO THE
                      COURT'S MARCH 1, 2022 ORAL ORDER (D.I. 894)

         Per the Court's Order (D.I. 894), the parties jointly respond that Intel has appealed from

  the PTAB's final written decisions regarding the '026 patent IPRs, that VLSI has cross-appealed,

  and that these appeals remain pending. Neither party wishes to move to lift the stay as to some

  or all of the asserted claims of the '026 patent at this time. The parties propose that they jointly

  provide another status update to the Court regarding the '026 patent IPR appeals, and any request

  to lift the stay, by September 1, 2022.



  Dated: May 31, 2022                              Respectfully submitted,

  FARNAN LLP                                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP

  /s/ Brian E. Farnan                              /s/ Jack B. Blumenfeld
  Brian E. Farnan (Bar No. 4089)                   Jack B. Blumenfeld (#1014)
  Michael J. Farnan (Bar No. 5165)                 Jeremy A. Tigan (#5239)
  919 N. Market St., 12th Floor                    1201 North Market Street
  Wilmington, DE 19801                             P.O. Box 1347
  Telephone : (302) 777-0300                       Wilmington, DE 19899
  Fax : (302) 777-0301                             (302) 658-9200
  bfarnan@farnanlaw.com                            jblumenfeld@morrisnichols.com
  mfarnan@farnanlaw.com                            jtigan@morrisnichols.com

  Attorneys for Plaintiff                          Attorneys for Defendant
